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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                                4:09CR00265-3-1 WRW


SAMUEL GAYLON BAGGETT


                                           ORDER

       On December 14, 2009, the Court entered an Order Setting Conditions of Release. (Docket

entry #44). Among other things, Defendant cannot possess a firearm.

       Defendant’s Pretrial Services Officer (“PTSO”) has advised the Court that Defendant

possesses an Arkansas concealed handgun license, and has requested that Defendant surrender his

license. The Court will modify Defendant’s conditions accordingly.

       IT IS THEREFORE ORDERED THAT Defendant’s conditions of release are MODIFIED

to require Defendant to surrender his concealed handgun license to his PTSO.

       DATED this 5th day of January, 2010.




                                                   UNITED STATES MAGISTRATE JUDGE
